                     IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

 JASON WILLIAMS,

        Plaintiff,                                 Case No. 5:19-cv-00475-BO

 vs.
                                            DEFENDANT AT&T MOBILITY LLC’S
 AT&T MOBILITY LLC,                        REPLY IN SUPPORT OF ITS MOTION TO
                                            DISMISS PURSUANT TO RULE 12(b)(6),
        Defendant.
                                                     12(b)(1), AND 9(b)




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                                           I.       Introduction

        Mr. Williams’ opposition continues his attempt to blame AT&T for conduct that it did not

control and for harm that arises from the intervening, criminal misconduct of third-party hackers.

Unable to allege that SIM swaps caused his alleged harm, Mr. Williams asserts instead that SIM

swaps are capable of leading to theft. His opposition fails to address the flaws in his claims. Instead,

Mr. Williams repeatedly asks the Court to accept labels and conclusions in place of plausible

factual allegations, to impose liability under statutes that do not cover his assertions, and to expand

exceptions to the economic loss rule, which bars liability here. AT&T asks the Court to reject these

arguments and to dismiss the Corrected Complaint in its entirety.
                                  II.      Arguments and Authorities
A.      Mr. Williams has failed to adequately allege proximate causation.

        Mr. Williams’ opposition continues to rely on vague, conclusory assertions. Mr. Williams

has not pleaded the actual facts of what happened after third-party hackers wrongfully obtained

access to his phone number—he does not explain what the third-party hackers actually did or how

they actually used his phone number to obtain access to his money and information. Instead, Mr.

Williams merely insists that, by conducting the SIM swaps, AT&T “allowed” or “enabled” these

third-party hackers to steal his money and information. See Plf.’s Oppo. To Def.’s Mot. to Dismiss

(“Oppo.”) (Dkt. 18) 4, 9; e.g., Compl. ¶ 20, 36, 225. But this is not enough.

        Mr. Williams must plausibly allege that AT&T’s actions caused his alleged injuries, not

merely that a SIM swap makes it possible for an injury to occur.1 Taking Mr. Williams’ allegations

as true, we know only (1) that hackers obtained control of his phone number and (2) that hackers

also obtained access to his email and financial accounts and took his money. Compl. ¶¶ 36, 39.

But Mr. Williams does not tell us how #1 caused #2. He alleges #1 “allowed” or “enabled” #2, but

this is vague and conclusory. Thus, Mr. Williams has failed to adequately allege that AT&T’s


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  Mr. Williams alleges how a SIM swap can make it possible for an injury to occur. Compl. ¶ 27. But he does not
allege facts about what the third-party hackers actually did; he does not explain how the hackers used his phone
number to gain access to his accounts and steal his money and information. E.g., Compl. ¶ 36.


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actions proximately caused his alleged injuries. Cf. Terpin v. AT&T Mobility, LLC, 399 F. Supp.

3d 1035, 1044 (C.D. Cal. 2019) (dismissing similar claims because “the Court is left to speculate

how having access to [plaintiff’s] phone number resulted in the theft of cryptocurrency”).2

           Alleging only that AT&T’s actions “allowed” or “enabled” a third party’s injurious actions

is not enough to establish that AT&T’s actions proximately caused Mr. Williams’ injuries. See

Food Lion, Inc. v. Capital Cities/ABC, Inc., 964 F. Supp. 956, 960 (M.D.N.C. 1997) (quoting

Ratliff v. Duke Power Co., 268 N.C. 605, 151 S.E.2d 641, 648 (1966)) (“An event which is a ‘but

for’ cause of another event—that is, a cause without which the second event would not have taken
place—is not, necessarily, the proximate cause of the second event.”). Proximate causation is

narrower than but-for causation and is meant to limit the scope of a defendant’s liability. Id. (stating

proximate cause inquiry “necessarily” asks “whether the tortfeasor’s liability should as a matter of

public policy extend to those injuries”). “[I]f the original wrong only becomes injurious in

consequence of the intervention of some distinct wrongful act or omission by another, the injury

shall be imputed to the last wrong as the proximate cause, and not to that which was more remote.”

Id. at 961 (quoting Presnell v. Payne, 272 N.C. 11, 157 S.E.2d 601, 602 (1967)). According to Mr.

Williams’ own allegations, these SIM swaps became injurious only because of the subsequent

actions of third-party hackers. So Mr. Williams’ alleged injuries must be imputed to the actions of

third-party hackers—not to AT&T.

           As AT&T has noted, absent a duty created by a “special relationship,” a defendant cannot

be liable in North Carolina for the intervening criminal acts of a third party. See Def.’s Memo. in

Support of Mot. to Dismiss (“MTD Memo.”) (Dkt. 15, 8–9 (citing cases)). To circumvent this rule,

Mr. Williams cites two cases: Westfarm Assocs. Ltd. P’ship v. Wash. Suburban Sanitary Comm’n,

66 F.3d 669 (4th Cir. 1995), and Holt v. N.C. Dep’t of Transp., 245 N.C. App. 167, 781 S.E.2d

697 (2016). Oppo. at 6. But Westfarm is inapplicable because it involves Maryland law. And Holt

states plainly that an intervening cause will break the causal chain if it was “independent of” and


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    The Terpin plaintiff filed an amended complaint, the sufficiency of which is before the court on a motion to dismiss.

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“not produced by” the initial act, and was “adequate to bring about the injurious result”—i.e., if it

“prevents the natural and probable result of the original act…and produces a different result.” 245

N.C. App. at 177, 781 S.E.2d at 704.

       Here, the “natural and probable result” of a typical SIM swap is simply that a customer’s

phone number is transferred to another SIM card. Compl. ¶ 25. That is the typical result of

cellphone service providers like AT&T performing SIM swaps for their customers, which they do

daily. Id. Mr. Williams’ case is unusual because third-party hackers acted independently to cause

Mr. Williams’ alleged injuries. Mr. Williams does not tell us what the hackers actually did, or how
they actually used his phone number to access his accounts—but the only reasonable inference is

that the hackers’ actions were “independent of” and “not produced by” the SIM swap itself. The

hackers’ independent, intervening actions produced a result that was different from the “natural

and probable result” of a typical SIM swap. Thus, under the standard articulated in Holt, AT&T

cannot be liable for the alleged harm caused by the intervening criminal acts of third-party hackers.

       Mr. Williams contends that the acts of the third-party hackers were “foreseeable” because

AT&T “knew or should have known” what can happen if malicious third-party hackers get control

of a customer’s phone number. See Oppo. at 5–10. But even if Mr. Williams has alleged some

modicum of foreseeability, he still has failed to adequately allege proximate cause because he has

not pled a sequence of events by which AT&T’s conduct caused his injury.                  Moreover,

“foreseeability is only one element of proximate cause, which includes other equally important

considerations.” Food Lion, 964 F. Supp. at 961 (quoting Wyatt v. Gilmore, 57 N.C. App. 57, 290

S.E.2d 790, 791 (1982)). Other considerations include “whether the cause is, in the usual judgment

of mankind, likely to produce the result.” Id. (quoting Wyatt) (emphasis added). Courts must also

consider “whether recovery would place an unreasonable burden upon those engaged in [similar]

activities.” Id. The proximate cause element limits the scope of a defendant’s liability. Id. at 960

(stating inquiry into proximate cause “necessarily” asks “whether the tortfeasor’s liability should

as a matter of public policy extend to those injuries”).



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       Here, Mr. Williams argues “foreseeability” but ignores the fact that cellphone service

providers conduct appropriate SIM swaps for their customers every day. Compl. ¶ 25. He also

ignores the fact that AT&T itself was deceived by the third-party hackers who induced AT&T to

make the SIM swap. What happened to Mr. Williams is not “likely” to happen after a typical SIM

swap. And it would place an enormous, unreasonable burden on all cellphone service providers, if

a SIM swap could be construed as a proximate cause for Mr. Williams’ alleged injuries—when

Mr. Williams’ alleged injuries were caused by the independent, intervening, criminal acts of third-

party hackers. Cf. Williams v. Mickens, 247 N.C. 262, 100 S.E.2d 511 (1957) (holding defendant’s
act of leaving keys in ignition was not proximate cause of injuries caused after car was stolen by

third party, even though theft of car was foreseeable). The Court should dismiss all of Mr.

Williams’ claims under Rule 12(b)(6).
B.     Mr. Williams lacks standing to recover damages for losses incurred by a business
       entity or other individuals.

       AT&T has asserted that Mr. Williams lacks standing to recover losses incurred by an

unnamed business entity, or by other individuals. MTD Memo. at 10–12. Mr. Williams offers no

direct response to this assertion. Instead, he merely insists that he has established standing to

recover for his own losses. Oppo. at 10–11. But that is not the question.

       To be clear: AT&T does not dispute Mr. Williams’ standing to recover for his own alleged
losses. See Oppo. at 10 n.5. AT&T maintains that Mr. Williams lacks standing to recover any

alleged losses incurred by another legal entity. In his opposition, Mr. Williams continues to refer

to “a business” that he allegedly “had to shut down” as a result of AT&T’s actions—and he refers

to “over $2 million” in alleged losses related to that business. Oppo. at 10. This amount in alleged

losses is based on Mr. Williams’ estimated value of “the business,” which he apparently bases on

the value of certain business assets and expenses, such as the value of “around 500 servers” and

“the cost necessary to power them.” Oppo. at 10 & n.6. Based on the complaint, these losses appear

to belong to “the business.” If “the business” is a separate legal entity, then Mr. Williams lacks

Article III standing to recover losses it allegedly incurred. See MTD Memo. at 10–12.


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       Mr. Williams tries to characterize these alleged losses as his own by referring to the value

of the servers and “the cost necessary to power them” as money he “invested” in “the business”

and by citing Nat’l Fin. Partners Corp. v. Ray, No. 13 CVS 3319, 2014 WL 5148197, at *5 (Sup.

Ct. Union Cnty. Oct. 13, 2014), for the proposition that “loss of investment in a business is ‘injury-

in-fact’ that confers standing.” Oppo. at 10–11. But this is sleight-of-hand. In Ray, the

“investment” loss that conferred standing resulted from an investment in a “fictitious entity”—an

investment in a Ponzi scheme. See Ray, 2014 WL 5148197, at *1 (describing Blackburg as

“fictitious entity” in Ponzi scheme) & *5 (noting out-of-pocket loss resulting from “investment”
in Blackburg was injury that conferred standing). In other words, in Ray, the party’s “investment”

loss gave the party standing to sue defendants who had tricked them into investing in a fictitious

entity. See id. Mr. Williams’ claims are nothing like the claims at issue in Ray.

       If Mr. Williams “invested” money in “a business” and “the business” used that money to

buy “around 500 servers” and to “power them,” then Mr. Williams’ invested money became the

business’s money—and those assets and expenses were the business’s assets and expenses. Any

losses that were allegedly incurred, related to the value of the servers and “the cost necessary to

power them,” are the business’s losses. And Mr. Williams lacks standing to recover for them.

       Mr. Williams offers no response to this issue. So, to the extent Mr. Williams seeks to

recover losses incurred by “a business,” Mr. Williams’ complaint should be dismissed under Rule

12(b)(1).
C.     Mr. Williams is not entitled to presumed damages or to injunctive relief for alleged
       violations of the FCA.

       Mr. Williams cites no authority to directly support his pursuit of injunctive relief, presumed

damages, or damages for mental or emotional distress, under the FCA. See Oppo. at 11–13. Mr.

Williams dismisses the decisions issued by other courts as “non-binding” and asks this Court to

split with those other courts and go a different way. Id. Then, after saying this Court “should not

follow” other courts’ “non-binding” decisions under the FCA (e.g., Conboy v. AT&T, 241 F.3d

242 (2d Cir. 2001)), Mr. Williams urges the Court to follow other courts’ nonbinding decisions


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under the 1974 Privacy Act (e.g., Johnson v. Dep’t of Treasury, 700 F.2d 971 (5th Cir. 1983)). See

Oppo. at 12. But if the Court must choose between following other courts’ decisions interpreting

the Privacy Act and following other courts’ decisions interpreting the FCA, it should follow the

decisions interpreting the FCA, when ruling on a claim brought under the FCA. For these reasons,

the Court should follow Conboy and other cases interpreting the FCA.
D.     Mr. Williams’ NCUDTPA claim (Count II) should be dismissed because Mr.
       Williams’ fails to allege reliance and fails to satisfy Rule 9(b)’s specificity
       requirement.

       Mr. Williams fails to adequately allege reliance on certain alleged misrepresentations and

fails to adequately allege the “who, what, when, where, and how” of others. See MTD Memo. at

13–15; United States ex rel. Wilson v. Kellogg Brown & Root, Inc., 525 F.3d 370, 379 (4th Cir.

2008). His opposition demonstrates the complaint’s inadequacy.

       Mr. Williams alleges that, when he “decided not to close his AT&T wireless account,” he

relied on a representation that his SIM card would not be swapped unless “he entered into a

designated store with two passports.” Oppo. at 13–14 (citing Compl. ¶ 47). But Mr. Williams has

failed to state “who” made this representation, “when” it was made, or “where” (i.e., in a store or

over the phone). See Compl. ¶ 47. Mr. Williams says that this representation was made “[i]n

November 2018.” Oppo. at 13. But this approximation of “when” does not appear in the complaint.

See Compl. ¶ 47. And we still don’t know “who” or “where.” Mr. Williams also alleges that, when

he bought a new phone, he relied on the representation that a new phone “would mitigate the risk

of another SIM swap attack.” Oppo. at 15 (citing Compl. ¶ 57). But again, Mr. Williams fails to

adequately allege the “who,” “when,” and “where” of this representation. Compl. ¶ 57.

       Mr. Williams insists that he alleged various other misrepresentations with sufficient

particularity. See Oppo. at 14–17. But he fails to cite where in the complaint he alleged reliance

on any of them—because he did not allege reliance on any of them. See id.

       In short, even if Mr. Williams has alleged reliance with regard to some alleged

misrepresentations, and even if Mr. Williams has alleged some misrepresentations with sufficient


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particularity, he fails to put these two requirements (i.e., reliance and particularity) together for

any single alleged misrepresentation. His NCUDTPA claim should therefore be dismissed.
E.         The economic loss rule bars Mr. Williams’ tort claims (Counts III & IV).

           Mr. Williams asserts that “exceptions” to the economic loss rule—injury outside the scope

of contract and being charged with a duty of care to safeguard property—somehow preclude the

operation of the rule as applied to his complaint. Oppo. at 17-20. But the case he cites clarifies that

there is “no case in which [the North Carolina Supreme] Court has held a tort action lies against a

promisor for his simple failure to perform his contract, even though such failure was due to

negligence or lack of skill.” N. Carolina State Ports Auth. v. Lloyd A. Fry Roofing Co., 294 N.C.

73, 83, 240 S.E.2d 345, 351 (1978). And the exceptions proffered by Mr. Williams do not apply.

           First, Mr. Williams’ complaint avers that his damages arose out of his wireless contract

with AT&T, Compl. ⁋ 219, but he now tries to focus on AT&T’s Privacy Policy.3 Even with this

attempted misdirection, his claims still fail because his asserted injuries would not be outside the

scope of the Privacy Policy. The Privacy Policy applies to “all products, services and websites

offered by AT&T” and refers customers to an online version of the actual policy. Compl. Ex. A at

2 (emphasis added). While Mr. Williams is correct that the policy states that “Unique rules apply

to CPNI,” the Privacy Policy includes CPNI, incorporates these unique rules, and refers customers

to an additional website for further information. Id. at 32-33. The Privacy Policy, therefore, applies

to all circumstances related to the products, services, and websites offered by AT&T, including

CPNI, and as a result, all of the alleged injuries are within the scope of the Privacy Policy.

           Second, Mr. Williams cites distinguishable cases regarding the economic loss rule

exception for one who is charged by law with a duty to use care in safeguarding property. These

cases limit the exception to situations in which a common carrier also undertakes a bailment.

Legacy Data Access, Inc. v. Cadrillion, LLC, 889 F.3d 158, 166 (4th Cir. 2018); Hatteras/Cabo

Yachts, LLC v. M/Y EPIC, No. 4:17-CV-00025-BR, 2019 WL 5792863, at *3 (E.D.N.C. Nov. 6,


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    Notably, Mr. Williams’ Complaint does not allege a claim for breach of contract against AT&T.

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2019). Mr. Williams seeks to apply the exception out of context and have it swallow the rule. And

even if the exception could apply, Mr. Williams’ arguments about the FCA do not support

expanding the exception here because Mr. Williams has not alleged damages he could recover

under the FCA. MTD Memo. at 12-13.
F.      Mr. Williams’ claim under the “Anti-Hacking Statute” (Count V) should be dismissed
        because the statute does not apply to telecommunications operations.

        A SIM card is a computer chip in a mobile device that provides the connection between

the device and a subscriber’s wireless phone service. SIM swaps occur for a variety of valid

reasons, such as when a subscriber purchases a new mobile device or needs to replace a lost or

damaged SIM card in an existing device. The ordinary course of AT&T’s business, like other

cellular providers, includes conducting SIM swaps for its customers in providing

telecommunications services, using software and hardware that is designed to allow it to do so.

Because the Computer Trespass Statute “does not apply” to “[a]ny software or hardware designed

to allow a…telecommunications service to operate in the ordinary course of a lawful business,”

N.C. Gen. Stat. 14-453.1(2), it cannot apply to AT&T’s use of software and hardware to conduct

SIM swaps.

        Mr. Williams says he “did not allege that terms or conditions in AT&T’s contract or license

violated the statute, nor did he allege that software or hardware that was designed to allow AT&T
to operate in the ordinary course of business violated the statute. Instead, he alleged that AT&T’s

employees intended to disable and halt data to Mr. Williams’ mobile device by conducting the

unauthorized SIM swaps.”4 Oppo. at 22 (parentheticals omitted). But this boils down to alleging

that AT&T violated the statute by conducting SIM swaps. This is wrong as a matter of law, because

SIM swaps are conducted in the ordinary course of business, using software and hardware designed

to allow AT&T to conduct SIM swaps, and the plain text of the statute says that it “does not apply”

in such circumstances. N.C. Gen. Stat. 14-453.1(2).

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 By referring to the SIM swaps on his device as “unauthorized” to distinguish from authorized SIM swaps and
alleging he had arrangements that no SIM swaps were to be conducted unless he presented two passports, Williams
implicitly admits SIM swaps are within AT&T’s ordinary course of business. Compl. ¶¶24-26, 29, 47.

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G.       Mr. Williams’ CFAA claim (Count VI) should be dismissed because he fails to plead
         qualifying losses.

         Mr. Williams’ opposition does not justify his failure to plead a qualifying loss under the

CFAA. He merely alleged that he “spent in excess of $5,000 investigating who accessed his mobile

device and damaged information on it.” Compl. ¶¶ 232-33. Courts have repeatedly rejected such

conclusory allegations. See MTD Memo. at 19-20; e.g., Advanced Fluid Sys., Inc. v. Huber, 28 F.

Supp. 3d 306, 331 (M.D. Pa. 2014) (“[C]onclusory allegations, reflecting only a formulaic

recitation of the statutory loss element, are insufficient to satisfy federal pleading requirements”);

Fabreeka Int’l Holdings, Inc. v. Haley, No. 15-CV-12958, 2015 WL 7253019, at *6 (E.D. Mich.

Nov. 17, 2015) DocMagic, Inc. v. Ellie Mae, Inc., 745 F. Supp. 2d 1119, 1150 (N.D. Cal. 2010).

         Mr. Williams’ remaining alleged losses do not qualify under the CFAA because courts also

have rejected losses unrelated to interruption of service. SKF USA, Inc. v. Bjerkness, 636 F. Supp.

2d 696, 721 (N.D. Ill. 2009) (noting a loss of revenue “might fit the usual understanding of the

term ‘loss,’” but the CFAA “provides a different definition that trumps the ordinary definition”);

AtPac, Inc. v. Aptitude Sols., Inc., 730 F. Supp. 2d 1174, 1185 (E.D. Cal. 2010).5 The CFAA allows

recovery only for losses incurred “because of interruption of service.” 18 U.S.C. § 1030 (e)(11).6

Mere loss of something valuable is not enough—the interruption must cause the loss. Mr.

Williams’ loss of money stolen from his bank account, stolen cryptocurrency, lost investment, and

lost profits did not originate from any interruption of service. Rather, they stemmed from the illegal
action of third parties who obtained his property through criminal means after they interrupted his

service. Accordingly, Mr. Williams’ CFAA claim should be dismissed.


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  Mr. Williams advocates for an overly-expansive definition of losses, but his cases support AT&T’s position that
CFAA losses include only investigation- and response-related losses. See A.V. ex rel. Vanderhye v. iParadigms, LLC,
562 F.3d 630, 646 (4th Cir. 2009) (holding that the CFAA contemplates “costs incurred as part of the response to a
CFAA violation, including the investigation of an offense”). And Mr. Williams cites to cases that do not address the
question of qualified losses at all. Tech Sys., Inc. v. Pyles, 630 F. App’x 184, 186 (4th Cir. 2015); Tech. Partners, Inc.
v. Papaioannou, No. 3:15CV63, 2015 WL 9304562, at *4 (W.D.N.C. Dec. 21, 2015).
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  Mr. Williams cites authority that is unrelated to the question of whether his expansive interpretation of losses are
recoverable under the CFAA. WEC Carolina Energy Sols. LLC v. Miller, 687 F.3d 199, 201 (4th Cir. 2012)
(dismissing CFAA claim on other grounds); Sageworks, Inc. v. Creatore, No. 5:16-CV-367-BO, 2017 WL 633359, at
*2 (E.D.N.C. Feb. 15, 2017) (denying dismissal only on other grounds).

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H.     Mr. Williams’ prayer for punitive damages should be stricken.

       As Mr. Williams acknowledges, punitive damages can be awarded against a corporation

only if its officers, directors, or managers “participated in or condoned the conduct constituting

the aggravating factor giving rise to punitive damages.” Oppo. at 26 (quoting N.C. Gen. Stat. 1D-

15(c)). Mr. Williams claims—in his opposition—that there is a “connection between the wanton

and willful conduct of [AT&T’s] officers, directors, or managers” and Mr. Williams’ alleged

injuries. Id. at 27–28. But nowhere in his complaint does Mr. Williams allege that any officer,

director, or manager “participated in or condoned the conduct constituting the aggravating factor

giving rise to punitive damages.” The words “wanton” and “willful” do not appear in his

complaint. Mr. Williams cites his allegation that AT&T’s Vice President was aware of SIM swaps

and that its employees could bypass protections to effect SIM swaps. Opp. at 27. But this allegation

of mere awareness of a potential problem is not an allegation that AT&T’s Vice President

“participated in or condoned” conduct that constitutes an “aggravating factor giving rise to punitive

damages.” And Mr. Williams still fails to identify which cause of action provides a basis for

punitive damages. For these reasons, the prayer for punitive damages should be stricken.
                                        III.    Conclusion

       AT&T requests that the Court dismiss Mr. Williams’ Corrected Complaint for lack of

standing, lack of specificity, and failure to state a claim upon which relief can be granted.
       Respectfully submitted this the 18th day of February, 2020.
                                       KILPATRICK TOWNSEND & STOCKTON LLP

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on date set out below, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

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       This the 18th day of February, 2020.
                                                    /s/ Jos. Dowdy.
                                                    Joseph S. Dowdy




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